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    In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                      Filed: August 4, 2017

* * * * * * * * * * * * * *
KARIE N. DUVERNAY, as Natural                 *      No. 16-582V
Guardian and Legal Representative             *
Of W.R.D., a minor,                           *
                                              *      Special Master Sanders
               Petitioner,                    *
                                              *      Joint Stipulation on Damages; Diphtheria-
v.                                            *      Tetanus-acellular-Pertussis (“DTaP”)
                                              *      Vaccine; Inactivated Polio Virus (“IPV”)
SECRETARY OF HEALTH                           *      Vaccine; Hepatitis B (“Hep B”) Vaccine;
AND HUMAN SERVICES,                           *      Haemophilus influenza b (“Hib”) Vaccine;
                                              *      Pneumococcal Conjugate Vaccine (“PCV”);
          Respondent.                         *      Rotavirus Vaccine; Synovitis.
* * * * * * * * * * * * * *

Nancy R. Meyers, Ward Black Law, Greensboro, NC, for Petitioner.
Jennifer L. Reynaud, United States Department of Justice, Washington, DC, for Respondent.

                                           DECISION1

        On May 16, 2016, Karie N. Duvernay (“Petitioner”), as the natural guardian and legal
representative of W.R.D., filed a petition for compensation pursuant to the National Vaccine
Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to -34 (2012). Petitioner alleged that as
a result of the Diphtheria-Tetanus-acellular-Pertussis (“DTaP”), Inactivated Polio Virus (“IPV”),
and Hepatitis B (“Hep B”) vaccines administered on February 6, 2014, and the Haemophilus
influenza b (“Hib”), Pneumococcal conjugate (“PCV”), and rotavirus vaccines administered on
March 11, 2014, W.R.D. suffered from synovitis. See Stip. at ¶¶ 1-4, ECF No. 33. Petitioner
further alleged that W.R.D. experienced symptoms of this injury for more than six months. Id. at
¶ 4.

1
 This decision shall be posted on the United States Court of Federal Claims’ website, in
accordance with the E-Government Act of 2002, 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services). In accordance with Vaccine
Rule 18(b), a party has 14 days to identify and move to delete medical or other information that
satisfies the criteria in § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a
motion for redaction must include a proposed redacted decision. If, upon review, the
undersigned agrees that the identified material fits within the requirements of that provision, such
material will be deleted from public access.
2
  The Program comprises Part 2 of the National Childhood Vaccine Injury Act of 1986, 42
U.S.C. §§ 300aa-10 et seq. (hereinafter “Vaccine Act,” “the Act,” or “the Program”). Hereafter,
individual section references will be to 42 U.S.C. § 300aa of the Act.
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         On August 4, 2017, the parties filed a stipulation in which they state that a decision
should be entered awarding compensation to Petitioner. Respondent denies that the DTaP, Hep
B, IPV, Hib, PCV, and rotavirus vaccines caused W.R.D.’s alleged synovitis or any other injury.
Id. at ¶ 6. Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A.
The undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

        The parties stipulate that Petitioner shall receive the following compensation:

        a) A lump sum of $3,740.00 in the form of a check payable to petitioner, as
           guardian/conservator of W.R.D.’s estate. This amount represents compensation
           for all damages that would be available under 42 U.S.C. § 300aa-15(a), except as
           set forth in paragraph 8.b; and

        b) A lump sum payment of $2,260.00 in the form of a check payable to petitioner,
           Karie N. Duvernay, for past unreimbursable medical expenses.

Id. at ¶ 8.

      The undersigned approves the requested amount for Petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3


        IT IS SO ORDERED.

                                              s/Herbrina D. Sanders
                                              Herbrina D. Sanders
                                              Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.

                                                 2
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